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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

--------------------------                      x
DYLAN BRANDT, et al.,                           :
                                                :
                            Plaintiffs,         :
                   v.                           :           Case No. 4:21-CV-00450-JM
                                                :
LESLIE RUTLEDGE, et al.,                        :
                                                :
                            Defendants.         :
--------------------------                      x


                            JOINT [PROPOSED] PRETRIAL ORDER

              The Parties, by and through their counsel, submit the following Joint [Proposed]

Pretrial Order. It is hereby ORDERED as follows:

I.     GENERAL STIPULATIONS

              1.        The Parties have agreed on the order that trial will follow, as set forth below:

                               Plaintiffs’ case-in-chief on whether House Bill 1570, Act 626 of the

                                93rd General Assembly of Arkansas ( “Act 626”) violates the Equal

                                Protection Clause, Due Process Clause, and First Amendment of the

                                U.S. Constitution.

                               Defendants’ case-in-chief on whether Act 626 violates the Equal

                                Protection Clause, Due Process Clause, and First Amendment of the

                                U.S. Constitution.

                               Plaintiffs do not currently anticipate a rebuttal case, but reserve the

                                right to seek leave to present a rebuttal depending on Defendants’

                                trial presentation.
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                2.     The Parties have agreed that videotaped deposition testimony that is

designated or counter-designated need not be presented to the Court, so long as neither Party raises

an objection or any such objection has been overruled by the Court.

                3.     The Parties have agreed to forgo opening statements.

II.    LEGAL AND EVIDENTIARY STIPULATIONS

       A.       Authenticity of Party-Authored Documents

                Documents authored by a Party and produced by that Party in this action shall be

deemed authentic under FRE 901 for the purposes of this lawsuit, absent specific indicia on the

face of the document that legitimately bring into question the authenticity of the document.

       B.       Authenticity of Legislative Documents

                The Parties agree that they will not dispute the authenticity of documents produced

by Representative Mary Bentley, Senator Alan Clark, Representative Robin Lundstrum,

Representative Marcus Richmond, and Representative Jim Wooten (collectively, “Legislators”).

The Parties have also agreed that they will not contest the authenticity of transcripts and videotaped

proceedings of the Arkansas Legislature’s legislative hearings on Act 626.

       C.       Authenticity of Websites

                The Parties agree that they will not dispute the authenticity of copies of webpages

or copies of Internet Archive versions of webpages. In each case, a Party may raise reasonable

objections if there are specific indicia that suggest the copy of the webpage or copy of the Internet

Archive version of the webpage is inauthentic.

       D.       Exhibit and Witness Lists

                Pursuant to the Court’s February 28, 2022 Amended Final Scheduling Order

(Dkt. 99), the Parties will submit to the Court a final exhibit list of the documents, summaries, and

other exhibits that may be offered into evidence at trial on October 10, 2022. The Parties previously
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exchanged their initial exhibit and witness lists. The Parties will work diligently, cooperatively,

and in good faith to resolve or narrow objections to each Party’s exhibit list, including by entering

into stipulations that will reduce the number of exhibits that need to be entered into evidence during

trial, and, to the extent practicable, grouping objections by type for the Court’s convenience.

                Any exhibit a party intends to introduce at trial to admit into evidence must be

included on its exhibit list, including any exhibit intended to be introduced during cross-

examination or rebuttal. Each Party may use any exhibit, even if it was not included on its exhibit

lists, for impeachment.

       E.       Demonstrative Aids

                Any demonstrative aids that either Party intends to be shown to the Court

(excluding demonstratives used only during closing arguments), shall be provided to the other

Party no later than 6:30 p.m. CT on the calendar day prior to such display. Demonstrative aids

that consist only of a single excerpt from a single exhibit or a single transcript (which may be

highlighted or enlarged) need not be disclosed; however, any demonstrative aids that include

excerpts of exhibits or transcripts that include any other annotation or added text must be disclosed

pursuant to this paragraph. Any objection to a demonstrative aid shall be made by 9 p.m. CT after

the disclosure and the Parties will meet and confer at 10 p.m. CT that evening, or some other time

agreeable to the Parties, to attempt to resolve any such objection.

       F.       Better Copies

                More legible or better quality versions of exhibits may be offered and received in

evidence in lieu of originals, subject to the right of the Party or Parties against which they are

offered to inspect an original upon request.




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       G.      Procedures Regarding Witnesses and Exhibits

               The Parties are required to disclose the expected order in which the witnesses will

be called, and use good faith in identifying non-demonstrative exhibits that are intended to be used

in the direct testimony of each witness. Each Party must identify to opposing counsel the identity

of any live witnesses to be called at trial (and the order in which they will be called) by no later

than 6:30 p.m. CT two (2) calendar days before the trial day on which that witness is expected to

testify. Exceptions to such disclosures may be made for good cause (such as witness unavailability

through no fault of the Party) provided that prompt notice of any such change is provided.

               Any exhibits that may be used on direct examination with any live witnesses

(including demonstrative exhibits) must be identified in connection with such witness by no later

than 6:30 p.m. CT on the calendar day before the start of the trial day on which the exhibit will be

offered. Any timely-raised objection to an exhibit on which the Court has not yet ruled shall be

identified by 9:00 p.m. CT after the disclosure. The Parties will meet and confer at 10 p.m. CT

that evening or some other time agreeable to the Parties to resolve any objections to the direct

examination exhibits. The Parties will cooperate in adjusting this schedule as necessary as trial

progresses.

               Except for when a witness testifies on the stand, witnesses are not to be allowed

into the courtroom unless they are a named Party.

       H.      Notice to the Court of Issues to be Decided

               Promptly after any meet and confer contemplated by this Order, the Parties shall

attempt to agree upon a single email without argument that shall be sent by a Party raising a dispute

to the Court each night identifying any issues that the Parties seek to have the Court address the

next morning before the start of trial.


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Dated: October 12, 2022                        Respectfully submitted,

 /s/ Leslie Cooper                             /s/ Leslie Rutledge
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                                   IT IS SO ORDERED.


                                   Hon. James M. Moody, Jr.
                                   United States District Judge




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